                   IN THE UNITED STATES BANKRUPTCY COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA (WILKES-BARRE)


 In re:                                                  Chapter 13

 ELIZABETH CAYMARES,                                     Case No.: 23-02305 (MJC)

          Debtor.



 CATERPILLAR FINANCIAL SERVICES                          Adv. Proc. No.
 CORPORATION,

          Plaintiff,

          v.

 ELIZABETH CAYMARES,

          Defendant.

               COMPLAINT OBJECTING TO DISCHARGEABILITY OF DEBT

          Caterpillar Financial Services Corporation (“CAT Financial”), by and through its

undersigned counsel, hereby files this Complaint Objecting to Dischargeability of Debt pursuant

to 11 U.S.C. § 523 and Bankruptcy Rules 4004(d) and 7001(4) against Debtor Elizabeth Caymares

(“Debtor”), and in support thereof, respectfully aver as follows:

                                     JURISDICTION AND VENUE

          1.        This is an adversary proceeding brought pursuant to Federal Rule of Bankruptcy

Procedure 7001(4) and (6) objecting to the dischargeability of debt pursuant to 11 U.S.C. §

523(a)(2) and (a)(6).

          2.        This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

          3.        This is a core proceeding over which the Court has jurisdiction pursuant to 28

U.S.C. § 157(b)(2)(I) and (J).

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       4.     Venue is proper pursuant to 28 U.S.C. § 1409.

                                     Factual Background

                           The Debtor Induces CAT Financial to
                        Extend Financing to Konstruction Built LLC

       5.     On or about August 29, 2022, the Debtor executed that certain Continuing Guaranty

(CFSC and CFCA as Beneficiaries) in favor of Caterpillar Financial Services Corporation and

Caterpillar Financial Commercial Account Corporation (the “Guaranty”). A true and correct copy

of the Guaranty is attached hereto as Exhibit A.

       6.     Pursuant to the Guaranty, the Debtor unconditionally guaranteed prompt payment

and performance of all obligations of Konstruction Built LLC (“Konstruction”) to CAT Financial.

       7.     Konstruction is indebted to CAT Financial pursuant to that certain Installment Sale

Contract No. 001-7008633 dated August 29, 2022 (the “Security Agreement”) with Holt Texas,

LTD (“Holt”), subsequently assigned to CAT Financial. A true and correct copy of the Security

Agreement is attached hereto as Exhibit B. A true and correct assignment of the Security

Agreement to CAT Financial is attached hereto as Exhibit C.

       8.     Under the Security Agreement, CAT Financial agreed to finance Konstruction’s

purchase of six (6) new Track Loaders, specifically, (i) 259D3 Caterpillar Compact Track Loader

(S/N CW920447), (ii) 259D3 Caterpillar Compact Track Loader (S/N CW920423), (iii) 259D3

Caterpillar Compact Track Loader (S/N CW920426), (iv) 259D3 Caterpillar Compact Track

Loader (S/N CW920442), (v) 259D3 Caterpillar Compact Track Loader (S/N CW 920445), and

(vi) 259D3 Caterpillar Compact Track Loader (S/N CW920453) (collectively, the “Equipment”).

Ex., B, C.

       9.     Konstruction agreed to pay $484,800.00 for the purchases of the Equipment in sixty

(60) equal monthly installments of $7,798.38. (Ex. B).

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        10.    The Debtor signed the Installment Sales Contract as a “member” of Konstruction.

Id., Ex. B.

        11.    Konstruction made only eight (8) payments under the Security Agreement.

        12.    As a result of Konstruction’s failure to make payments, the Security Agreement is

in default.

        13.    Konstruction and the Debtor, a personal guarantor of Konstruction’s obligations,

have failed to pay the balance due under the Security Agreement and Guaranty.

        14.    To date, CAT Financial has not been able to recover any of the Equipment.

        15.    As of the Petition Date the balance due and owing to CAT Financial under the

Security Agreement and Guaranty is $425,910.52.

                                      The Bankruptcy Case

        16.    On or about February 5, 2024, in response to a notice of default from CAT

Financial, Debtor’s counsel contacted CAT Financial’s outside counsel to inform them that the

Debtor had commenced a chapter 13 bankruptcy proceeding in this Court. See ECF 54-1, Ex. 1.

        17.    Prior to February 5, 2024, CAT Financial was not identified as a creditor of the

estate and therefore had not received any notice of this case, of the plan, or of the Bar Date. Id., ¶

7, Ex. 1.

        18.    On March 1, 2024, CAT Financial and the Debtor entered into that certain

Stipulation and Agreed Order allowing CAT Financial to file a Proof of Claim after the Bar Date.

[ECF 38].

        19.    The Court approved the Stipulation and Agreed Order on March 5, 2024. [ECF 42].

        20.    CAT Financial filed its proof of claim on February 29, 2024, which was designated

as Claim 7 on the Claims Register.



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                               The Debtor’s Equipment Scheme

       21.     On or about April 19, 2024, CAT Financial filed a motion for 2004 exam. [ECF

59]. On May 8, 2024, the Court entered an order directing the Debtor to appear for examination

within thirty (30) days. [ECF 61]. On May 29, 2024, the Debtor appeared for a 2004 Examination.

[ECF 63]. A true and correct copy of the examination transcript is attached hereto as Exhibit D.

       22.     The Debtor was generally evasive in her examination, refusing to answer even basic

questions about for example, her employment history, her prior residences, and how she pays her

bills on a daily basis on the premise that “she does not know” or “does not remember”.

       23.     The Debtor did testify about her prior employment with a property management

company owned or operated by her husband that subleased New York City residential properties.

Ex. D, pp. 17-22. The Debtor’s husband has recently pled guilty to wire fraud and is awaiting

sentencing in connection with such a real estate scheme. See Ex. D., also United States of America

v. Konrad Bicher, United States District Court for the Southern District of New York, Case No.

22MAG5371. A true and correct copy of the Docket Entries and Complaint filed against Mr.

Bicher is attached hereto as Exhibit E.

       24.     During the examination, it became clear that Konstruction was a similar scheme

with equipment instead of leased real property.

       25.     According to the Debtor, Konstruction built was a “rental company” that would

purchase equipment on financing, then turn around and lease the equipment to third parties. Ex.

D, p. 30. According to the Debtor, the Equipment was marketed for short-term leases on Facebook

marketplace. Id., pp. 30-40.

       26.     CAT Financial did not consent to the lease of the Equipment.




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       27.     Ultimately Konstruction sold the Equipment to an equipment company in Hudson

Colorado by the name of MTC Equipment. Since the 2004 Exam, CAT Financial learned that at

five (5) units were sold by MTC Equipment to a third party only nine (9) days after the Debtor

signed the Security Agreement and Guaranty. True and correct copies of Bills of Sale from

MTC Equipment to a third party dated September 7, 2022 are attached hereto collectively as

Exhibit F. According to the Bills of Sale, those units each had only three (3) hours of use. In

other words, they were brand new. It is highly suspect that the Debtor could sign the Security

Agreement and Guaranty, Konstruction could sell the equipment to MTC Equipment in Colorado,

and MTC Equipment list the units for sale and find a buyer in North Carolina, executing bills of

sale, all in a matter of nine (9) days. The only reasonable conclusion is that the Security Agreement

and Guaranty were signed with the express purpose to get quick cash from the re-sale of the

Equipment. Then, Konstruction made a handful of payments after the Equipment was sold,

keeping CAT Financial in the dark to the fraud. It is further highly suspect that the Security

Agreements were signed and Equipment proceeds were pocketed only few weeks after the Debtor

signed a $200,000 bond for the release of her husband from police custody in connection with his

criminal charges. Ex. D, p. 46, Ex. E.

       28.     During the examination, the Debtor could not explain why the Equipment was sold

to a company in Colorado when, according to the Debtor, Konstruction had no business activity in

Colorado. Ex. D, p. 69.

       29.     At this time, as a direct result of the Debtor and Konstruction’s fraud and intentional

misrepresentations or omissions, CAT Financial has not recovered any of the Equipment.

       30.     CAT Financial did not consent to the sale of the Equipment.

       31.     CAT Financial did not receive any proceeds of the sale(s).



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       32.     The lease and eventual sale of the Equipment out of trust was expressly prohibited

by the Security Agreement, which states:

               8. Possession, Use, and Maintenance. You must not: (a) use,
               operate, maintain or store a Unit improperly, carelessly, unsafely or
               in violation of any applicable law or regulation or for a purpose other
               than in the ordinary course of your business; (b) abandon a Unit; (c)
               lease a Unit or permit the use of a Unit by anyone other than you,
               without our prior written consent; (d) sell, assign, transfer or create
               or allow to exist any lien, claim, security interest or encumbrance on
               any Unit or your rights and benefits under any CVA, except in our
               favor….

Ex. B, § 8.

       33.     The Debtor knowingly signed the Security Agreement on behalf of Konstruction.

       34.     Upon information and belief, the Equipment was purchased, leased, and then sold

by Konstruction and the Debtor with the intention of defrauding CAT Financial.

       35.     The Debtor knew or should have known that she was required to obtain the

permission of Plaintiff for any lease or sale of any collateral so that Plaintiff could provide a lien

release as part of the sale and ensure that the sale proceeds would be remitted to Plaintiff to apply

to the indebtedness outstanding under the Security Agreement.

       36.     Despite the Debtor’s general statement at the 2004 examination that CAT Financial

consented to the rental business, to date, the Debtor has produced no evidence whatsoever of any

consent by CAT Financial to the leasing of the Equipment, let alone the immediate sale of the

Equipment.

       37.     Additionally, the Debtor provided a false address to the Plaintiff, representing that

Konstruction’s business address was 1090 SE Ninth Ct., Hialeah, Florida 33101 and that

Konstruction was a Florida entity. At the 2004 Examination, the Debtor testified that that address

was her grandparents’ condo in Miami, despite the fact that Konstruction operated in Texas and



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also had organizational ties in Wyoming. Id. at pp. 36, 55-56. The Debtor never corrected the

misrepresentation. Id.

        38.    CAT Financial relied upon the Debtor’s misrepresentations, and as a direct result

of such misstatements, did not file UCC Financing statements in Texas or in Wyoming, where

CAT Financial has now learned that Konstruction was organized and/or operated.

        39.    As a result of the Debtor’s conduct, CAT Financial has been injured. It has not

been able to recover any of its collateral, over $425,910.52 remains due and owing under the

Guaranty and Security Agreement, and CAT Financial has been required to incur legal fees and

expenses in connection with pursuing its rights and remedies, including without limitation to file

this case.

                                  COUNT I
                         DETERMINATION THAT DEBT IS
                 NOT DISCHARGEABLE UNDER 11 U.S.C. § 523(a)(2)(A)

        40.    Plaintiff repeats and realleges each and every allegation set forth above as if set

forth more fully herein.

        41.    This is an action requesting a determination that the debt of the Debtor to Plaintiff

is excepted from the Debtor’s discharge and is not dischargeable, should the Debtor receive a

discharge, pursuant to 11 U.S.C. § 523(a)(2)(A).

        42.    Section 523(a)(2)(A) of the Bankruptcy Code provides that “[a] discharge under

section 727, 1141, 1192, 1228(a), 1228(b), or 1328(b) of this title does not discharge an individual

debtor from any debt… (2) for money, property, services, or an extension, renewal, or refinancing

of credit, to the extent obtained by - (A) false pretenses, a false representation, or actual fraud,

other than a statement respecting the debtor’s or an insider’s financial condition….”

        43.    Plaintiff is a creditor of the Debtor.



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       44.     The debt of the Debtor to Plaintiff was incurred with false pretenses, false

representations, and/or actual fraud.

       45.     Plaintiff has been damaged by the Debtor’s false representation, false pretenses,

and/or actual fraud.

       WHEREFORE, for the reasons stated herein, Plaintiff requests the Court enter judgment

in its favor and against the Debtor determining that the debt from the Debtor to Plaintiff is

nondischargeable, that the Court award judgment for Plaintiff for all of its damages, costs, and

attorney’s fees in prosecuting this action, and that the nondischargeable debt includes Plaintiff’s

costs and attorney’s fees in prosecuting this action as well as grant any further relief the Court

deems proper under the circumstances.

                                  COUNT II
                          DETERMINATION THAT DEBT IS
                   NOT DISCHARGEABLE UNDER 11 U.S.C. § 523(a)(6)

       46.     Plaintiff repeats and realleges each and every allegation set forth above as if set

forth more fully herein.

       47.     This is an action requesting a determination that the debt of the Debtor to Plaintiff

is excepted from the Debtor’s discharge and is not dischargeable, should the Debtor receive a

discharge, pursuant to 11 U.S.C. § 523(a)(6).

       48.     Section 523(a)(6) of the Bankruptcy Code provides that “[a] discharge under

section 727, 1141, 1192, 1228(a), 1228(b), or 1328(b) of this title does not discharge an individual

debtor from any debt… (6) for willful and malicious injury by the debtor to another entity or to

the property of another entity… .”

       49.     Plaintiff is a creditor of the Debtor.




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        50.      By engaging in the conduct alleged above, the Debtor willfully and maliciously

intended to injure the Plaintiff and its collateral.

        51.      Specifically, the Debtor induced Plaintiff to extend financing on the basis that the

Equipment would be used by Konstruction and payments would be made. Instead, the Debtor, in

her individual capacity and as an owner and operator of Konstruction, immediately re-listed the

equipment for lease, ultimately sold the Equipment out of trust, and absconded with the proceeds.

        52.      The Debtor intentionally sold and converted Plaintiff’s collateral, which the Debtor

knew or should have known was subject to a perfected security interest held by Plaintiff.

        53.      Plaintiff has been damaged by the Debtor’s conduct.

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in its favor

and against the Debtor determining that the debt from the Debtor to Plaintiff is nondischargeable,

that the Court award judgment for Plaintiff for all its damages, costs, and attorneys’ fees in

prosecuting this action, and that the nondischargeable debt includes Plaintiff’s costs and attorneys’

fees in prosecuting this action as well as grant any further relief the Court deems proper under the

circumstances.

                                                Respectfully Submitted,

Dated: June 21, 2024                            BUCHANAN INGERSOLL & ROONEY PC

                                                /s/ Kelly M. Neal
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